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                                              10   Stell, Steve W. Fox, and Edmond Tarverdian
                                              11                              UNITED STATES DISTRICT COURT
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                                                                          EASTERN DISTRICT OF CALIFORNIA
                                              13
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                                                   DIANA AKKAWI, an individual;        Case No.: 2:20-cv-01034-MCE-AC
                                              14   YASMIN AKKAWI, an individual;       Assigned to: Senior Judge Morrison C.
                                                   KATELYN J. BUTTON, an individual; England Jr. and Magistrate Judge
                                              15
                                                   ERIC STELL, an individual; STEVE W. Allison Clair
                                              16   FOX, an individual; EDMOND
                                              17   TARVERDIAN, an individual;          ORDER ON JOINT DISCOVERY PLAN
                                              18                Plaintiffs,                   Action Filed: May 20, 2020
                                              19   v.                                         Trial Date: None Set
                                              20
                                                   KASRA SADR, an individual; CAR
                                              21   LAW FIRM, a business entity form
                                              22   unknown; THE SADR LAW FIRM, a
                                                   professional law corporation;
                                              23   NATIONWIDE VIN MARKETING, a
                                              24   business entity form unknown;
                                                   CALIFORNIA DEPARTMENT OF
                                              25   MOTOR VEHICLES, an Agency of the
                                              26   State of California; and DOES 1
                                              27   through 20, inclusive,

                                              28                Defendants.

                                                   ____________________________________________________________________________________
                                                                                 ORDER ON JOINT DISCOVERY PLAN
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                                              1              Pursuant to the Court’s Initial Pretrial Scheduling Order, Plaintiffs Diana
                                              2    Akkawi, Yasmin Akkawi, Katelyn J. Button, Eric Stell, Steve W. Fox, and Edmond
                                              3    Tarverdian (“Plaintiffs”), through their counsel of record; James S. Sifers of
                                              4    Madison Law, APC; and Defendants Kasra Sadr (“Defendant Sadr”), Car Law
                                              5    Firm (“Defendant CLF”), The Sadr Law Firm (“Defendant SLF”), and Nationwide
                                              6    VIN Marketing (“Defendant Nationwide”) (collectively “Defendants”), through their
                                              7    counsel of record; Kasra Sadr of The Sadr Law Firm, conducted a FRCP Rule
                                              8    26(f) conference on November 4, 2021, and further consulted by e-mail
                                              9    thereafter.1 Plaintiffs and Defendants are jointly referred to as the “Parties.” As a
                                              10   result of that conference, the Parties agreed on a Joint Discovery Plan and
                                              11   submitted the same to the Court. The Joint Discovery Plan is approved as
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                                              12   follows:
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                                              14   A.        JOINT DISCOVERY PLAN
                                              15
                                              16         1. INITIAL DISCLOSURES: To be provided within 14 days of execution of
                                              17             the Joint Discovery Plan. Timing of discovery is to be per the Court’s Initial
                                              18             Pretrial Scheduling Order.
                                              19
                                              20         2. PRESERVATION OF DISCOVERABLE INFORMATION: The Parties are
                                              21             ordered to take all reasonable and necessary steps to preserve any
                                              22             discoverable information.
                                              23
                                              24         3. DEPOSITIONS: Depositions to be conducted per FRCP Rule 30. Should
                                              25             the need arise for additional depositions, the Parties shall meet and confer,
                                              26
                                              27
                                              28   1
                                                       Defendant California Department of Motor Vehicles was voluntarily dismissed on June 15, 2020.

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                                                                                         ORDER ON JOINT DISCOVERY PLAN
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                                              1             and should that not produce a resolution, the Parties may seek leave to
                                              2             take additional depositions from this Court.
                                              3
                                              4          4. INTERROGATORIES: The Parties agreed to alter the limit for
                                              5             interrogatories stated in FRCP Rule 33(a)(1) to 100 per side. Should the
                                              6             need arise for additional interrogatories, the Parties shall meet and confer,
                                              7             and should that not produce a resolution, the Parties may seek leave to
                                              8             propound additional interrogatories from this Court.
                                              9
                                              10         5. DOCUMENT REQUESTS: Document requests to be conducted per FRCP
                                              11            Rule 34.
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                                              13         6. REQUESTS FOR ADMISSION: Requests for admissions to be conducted
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                                              14            per FRCP Rule 34.
                                              15
                                              16         7. SCOPE OF DISCOVERY: The Parties agreed that the scope of the
                                              17            discovery to be conducted should be focused on the claims as alleged in
                                              18            the Complaint and the defenses as framed by the Answer.
                                              19
                                              20         8. ELECTRONICALLY STORED INFORMATION: Electrically stored
                                              21            information shall be preserved as noted in Paragraph 2.
                                              22
                                              23         9. POTENTIAL PRIVILEGE ISSUES: Defendants have raised the possibility
                                              24            of potential trade secret issues. The Parties shall meet and confer
                                              25            regarding any such issue, and may seek orders from this Court to the
                                              26            extent necessary.
                                              27   ///
                                              28   ///

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                                                                                 ORDER ON JOINT DISCOVERY PLAN
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                                              1          IT IS HEREBY ORDERED THAT the Parties’ Joint Discovery Plan is
                                              2    APPROVED. The Parties are further ordered to file a Joint Notice of Trial
                                              3    Readiness not later than thirty (30) days after receiving this Court's ruling on the
                                              4    last filed dispositive motion. The parties are to set forth in their Notice of Trial
                                              5    Readiness, the appropriateness of special procedures, whether this case is
                                              6    related to any other case(s) on file in the Eastern District of California, the
                                              7    prospect for settlement, their estimated trial length, any request for a jury, and
                                              8    their availability for trial. After review of the Parties' Joint Notice of Trial
                                              9    Readiness, the Court will issue an order that sets forth new dates for a final
                                              10   pretrial conference and trial.
                                              11         IT IS SO ORDERED.
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                                              13   Dated: February 28, 2022
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                                                                                ORDER ON JOINT DISCOVERY PLAN
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